Case 2:16-cv-03219-GHK-FFM Document 8 Filed 08/11/16 Page 1 of 1 Page ID #:16



  1   JOSHUA P. FRIEDMAN (SBN 216261)
      JFRIEDMAN@JPFASSOCIATES.COM
  2   JOSHUA P. FRIEDMAN AND ASSOCIATES, INC.
      9903 SANTA MONICA BOULEVARD, SUITE 1108
  3   BEVERLY HILLS, CALIFORNIA 90212
      TEL: 310.278.8600 FAX: 310.388.5421
  4
      Attorneys for Plaintiff/Judgment Creditor,
  5   Moves Media Ventures, LLC
  6
                            UNITED STATES DISTRICT COURT
  7
                           CENTRAL DISTRICT OF CALIFORNIA
  8
  9   Moves Media Ventures, LLC,                   Case No. 2:16-cv-03219
10                    Plaintiff,
                                                   REQUEST AND ORDER GRANTING
11    v.                                           SPECIAL APPOINTMENT TO
                                                   SERVE PROCESS
12    Branded Management, LLC, et al.,
                                                   [Rule 4(c), Fed. R. Civ. P.; Local Rules
13                                                 19.2 and 19.3]
                      Defendant.
14                                                 [No Hearing Required]
15          Plaintiff Moves Media Ventures, LLC, pursuant to the provisions of Rule

16    4(c) of the Federal Rules of Civil Procedure and Rules 4, 5 and 64-2 of the Local

17    Rules of Practice of the United States District Court for the Central District of

18    California, request that ABC Legal Support, a registered California process server

19    whose business address is 201 S. Figueroa Street, Suite 100, Los Angeles, CA

20    90012, be authorized and specially appointed to serve any Writs of Attachment and

21    Writs of Execution and other judgment enforcement items necessary in this action.

22    The U.S. Marshall’s Office will remain the Levying Officer.

23    Submitted by:
24    Dated:    August 11, 2016              JOSHUA P. FRIEDMAN AND
                                             ASSOCIATES, INC.
25
26                                           By:     /s/ Joshua P. Friedman
                                                   Joshua P. Friedman
27                                                 Attorneys for Judgment Creditor,
                                                   Moves Media Ventures, LLC
28
                                                      REQUEST AND ORDER GRANTING SPECIAL
                                             -1-
                                                           APPOINTMENT TO SERVE PROCESS
